                      UNITED STATES DISTRICT COURT
                     DISTRICT COURT OF MASSACHUSETTS


                              )
MANUEL PENA                   )
                              )
v.                            )                       CASE NO.:
                              )                       1:22-MC-91239-ADB
SUPERINTENDENT OF MCI         )
SOUZA BARANOWSKI STATE PRISON )
                              )

                      SUPPLEMENTAL MOTION TO EXTEND
                 DEADLINE TO FILE HABEAS CORPUS PETITION
            AND/OR TO HOLD HABEAS CORPUS PETITION IN ABEYANCE

      NOW    COMES   the    Petitioner    in    the    above-captioned      matter,

MANUEL PENA, and respectfully moves this Honorable Court to stay

the   proceedings     in    this   matter      and    hold   his   habeas   corpus

petition under 28 USC 2254 in abeyance to allow the Defendant to

exhaust his state remedies.              The Defendant filed the original

motion seeking this relief with the Federal Court on or about

May   17,   2022.     The    Clerk’s     Office      ultimately    docketed   this

matter, and notice was sent in July 2022                     seeking additional

information.     The Defendant hereby supplements this request for

relief by providing the additional information contained herein.

The Defendant incorporates the first motion by reference and

expands on the issues raised as follows:

1.    The Defendant states that Petitioner has a “mixed” federal

      habeas corpus petition, containing some claims that have

      been exhausted in the state courts and some that have not.




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2.   The Defendant Petitioner asserts that a “Stay and Abeyance”

     procedure – under which a Federal District Court stays the

     mixed petition to allow the prisoner to (1) to present the

     unexhausted claims to a state court in the first instance,

     and (2) then, to return to federal court for a review of

     the perfected petition- is in order because there is good

     cause    for   the   prisoner’s       failure     to   exhaust     the   claims

     first in state court and because Petitioner’s claims have

     merit. See Rhines v. Weber, 544 US 269, 277-279 (2005).

3.   The   Commonwealth       delayed     Petitioner’s        ability   to    file   a

     habeas corpus petition due to the state action related to

     transfers between prisons, denial of access to law library,

     and restrictions created by COVID-19.                    The Petitioner was

     just recently granted access to the law library again and

     states the filing deadline should begin to run as of May

     17, 2022 since the obstacles were recently lifted at the

     time of the first filing for this relief.                     Defendant now

     has access to Law Library, albeit still limited hours and

     limited availability.             Alternatively, the time should start

     to    run   from     July    1,     2022   when    the    Court    filed    the

     Defendant’s first motion filing for this relief.

4.   Due to COVID-19 protocols and procedures, the Petitioner

     was denied regular, consistent, and effective access to the

     law     library    for      the    last    two    years    which    prevented



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     Petitioner         from   perfecting      a     habeas    corpus      petition.

     Throughout the pandemic, the Petitioner was denied access

     for safety protocol.              Then, the Petitioner was recently

     transferred to Souza Baranowski where access to the library

     is limited to two times per month.                   The number of trips to

     the    law    library     since    his     recent      transfer      have    been

     insufficient to prepare the habeas corpus petition and/or

     the related state relief.

5.   Accordingly, Petitioner seeks an extension of the filing

     deadline and requests that the clock for 1 year and 90 days

     start to run as of May 17, 2022 as some of the obstacles

     have   been    removed     or   from     July   1,    2022   when    the    first

     pleading was finally entered in Federal Court.

6.   Additionally,        Petitioner’s good cause for not                 exhausting

     his claims first in state court is due to COVID-19, the new

     protocols created in the state prisons due to COVID-19, the

     limited ability to hire a new attorney for this matter,

     waiting      for    investigation,       and    the   Petitioner’s      limited

     access to the law library as a result.                       Petitioner was

     denied access to the law library for most of the time in

     prison during the COVID-19 pandemic.                     The Petitioner was

     also    transferred          between      MCI-Shirley        and      MCI-Souza

     Baranowski         prisons      which      caused        additional         delay.

     Defendant     was     wrongfully    harassed      and    sent   to    the    hole



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     without privileges without basis to do so.                    The Defendant

     has filed an appeal with the Department of Corrections for

     this wrongdoing.

7.   Petitioner has since hired new private counsel as successor

     counsel to perfect an additional review in the state court

     of his underlying conviction, namely to file a motion for

     new trial based on issues not properly raised by prior

     counsel.     This happened just a few months ago, and the

     attorney and Defendant and working diligently to file the

     motion for new trial this year with the new evidence from

     the recent investigation.

8.   The   Petitioner     seeks     relief    in      state   court       including

     ineffective assistance of counsel, due process violations,

     fair trial violations, and other grounds for a new trial

     related to the bias and false testimony of the complaining

     witness in this case, the alleged victim.                     Petitioner has

     sought the help of a private investigator to show it was

     impossible   for     the     complaining    witness      to    see    what   he

     claimed    through     his     bedroom     window.        This       testimony

     wrongfully placed the Defendant at the scene of the crime.

     This motion for new trial has merit.

9.   The   original     trial      counsel      for    Defendant      failed      to

     adequately investigate the case and prepare the case for

     trial.       The     trial     lawyer    should      have      utilized      an



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      investigator to properly show that it was impossible for

      the alleged victim to see what he claimed he saw through

      the     first-floor      bedroom   window.             An    investigation     by

      successor        counsel     through     a    private        investigator     has

      revealed that it is, in fact, not possible to view the

      areas of the parking lot through the bedroom window from

      the   bed    in    the     first-floor       bedroom    as    claimed   by    the

      alleged victim.          More evidence regarding this issue should

      have been presented at trial.

10.   The trial counsel was ineffective by failing to properly

      develop, investigate, and introduce evidence of bias of the

      alleged victim at trial.            The alleged victim was rewarded

      with housing benefits as a result his cooperation, namely

      his own apartment.            Trial counsel was ineffective in his

      failure     to    properly    investigate       this,       develop   this,   and

      highlight this at trial for the jury’s consideration.                         The

      benefits received by the lead witness, the alleged victim,

      was a crucial area of cross examination that                          fell well

      below     professional        standards       of   an       effective   defense

      attorney at trial.           The benefits received by alleged victim

      should have been used at trial as part of the defense, and

      this failure was not a strategic decision.                     Bias is crucial

      area of cross examination, an important part of a solid

      defense, and required for trial counsel to offer effective



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      assistance to the Defendant.                   The attorney’s failure to use

      bias   of   the    alleged         victim      created    by   the      benefits    he

      received as a cooperating alleged victim at trial deprived

      the    Defendant     of        a    fair       trial.      Bias      is    necessary

      information for the jury to deliberate and properly assess

      credibility of the witnesses at trial.                         This issue is for

      the jury to decide, and the Court should not determine

      whether this is a strategic decision, but instead, it is

      well settled that failure to use bias is unreasonable and

      contrary to the fair professional practice of law.                                 See

      Wood   v.   Allen,       558       US    ___    (2010),    Docket       08-9156,    US

      Appeals     for   Eleventh          Circuit      regarding        the     Defendant’s

      claims for ineffective assistance of counsel.

11.   The Defendant was denied a fair trial due to ineffective

      assistance of counsel.                  Massachusetts case law guarantees

      the Defendant a fair trial with effective counsel.                                This

      includes properly raising and establishing bias at trial.

      Where facts show bias or motive to lie, the Defendant has a

      right to effective cross-examination through his attorney.

      See Commonwealth v. Ellis, 432 Mass. 746 (2000).

12.   Cross-examination         is       the     principal      means    by     which    the

      believability of a witness and the truth of his testimony

      are tested.        See Davis v. Alaska, 415 U.S. 308, 315-319

      (1974).     A     more     particular            attack     on      the      witness'



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      credibility      is    effected   by    means       of   cross-examination

      directed toward revealing possible biases, prejudices, or

      ulterior motives of the witness as they may relate directly

      to   issues   or      personalities     in    the    case   at    hand.    The

      partiality of a witness is subject to exploration at trial,

      and is "always relevant as discrediting the witness and

      affecting the weight of his testimony” Id.

13.   The Court may not restrict cross examination of a material

      witness by stopping or preventing questions that raise a

      crucial   bias     issue.     This     is    the    Defendant’s    right    at

      trial, and trial counsel failed to adequately raise the

      bias issues for Defendant Pena.                The credibility of the

      witness is a crucial issue for the jury to decide, and the

      Defendant is entitled to a defense that includes an attack

      on the witness due to his bias.                In Mr. Pena’s case, the

      witness was getting benefits, housing, and money from the

      government, and this bias was not properly used at trial by

      his attorney.         Defendant has the right to bring to the

      attention of the jury any "quid pro quo" agreement between

      the prosecution and a testifying witness, whether formal or

      informal, written or unwritten. See Commonwealth v. Davis,

      52 Mass. App. Ct. 75, 78-79 & n.7 (2001) and Commonwealth

      v. O'Neil, 51 Mass. App. Ct. 170, 179 (2001).




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14.   As discussed above, trial counsel for Mr. Pena failed to

      properly use the bias information created by the benefits

      gained by the alleged victim.               The failures regarding bias

      evidence cannot be ignored as a strategic decision by trial

      counsel    as    it     was    clearly      ineffective       assistance    of

      counsel.

15.   Additionally, the trial attorney for Defendant Pena failed

      to properly investigate and prepare for trial with the use

      of    an   impeachment          witness,     namely       the     Defendant’s

      Grandmother.      She lived in the apartment above the alleged

      victim.    The trial attorney was aware of Mr. Pena’s desire

      to call Grandmother as a witness at trial, but the lawyer

      failed to do so.            This became a crucial issue at trial as

      the   alleged     victim       testified     to    many    lies    at    trial

      regarding Grandmother, their relationship, his familiarity

      with Grandmother, her familiarity with him, and testified

      about his familiarity of Mr. Pena claiming that it was due

      to Mr. Pena living in the apartment with Grandmother.                      The

      witness testified that they were close and he was very

      familiar   with       her    and   her   family,   including       Mr.   Pena,

      because    she    regularly        cooked     meals     for     him,     cooked

      together, shared with him, and he claimed that he worked on

      her car for her to help with repairs.                 This never happened.

      Grandmother would have testified that Mr. Pena did not live



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      with her and was not there often.                  She would have testified

      that she never interacted with the alleged victim, did not

      share with him, did not cook meals together, did not cook

      meals for him, and he did not work on or otherwise repair

      her    car.      The   attack      of     the    alleged        victim’s         claimed

      familiarity was a crucial issue at trial, and the trial

      attorney      should   have     properly        prepared       these    issues       for

      trial,      properly    investigated         this       matter,       and       properly

      called her at trial as a witness to impeach the credibility

      of    the    witness   and     familiarity        claimed       by    the       witness.

      These       failures   by     trial     counsel      constitute         ineffective

      assistance of counsel, and the decision not to investigate

      and not to call her as a witness cannot he ignored as a

      strategic       decision      by   counsel.            This     was     ineffective

      assistance       of    counsel        that       severely        prejudiced          the

      Defendant and hurt his defense at trial.

16.   In    Alcorta     v.   Texas,      the       Court      held     that       a     habeas

      petitioner       had   been    denied      due    process        of    law       when   a

      prosecutor allowed a witness to give the jury a “false

      impression” of his relationship with the petitioner's wife.

      See    Alcorta    v.   Texas,      355    U.S.     28    (1957).            Under    the

      general        principles          laid         down       by         this         Court

      in Mooney v. Holohan, 294 U.S. 103, and Pyle v. Kansas, 317

      U.S. 213, petitioner was not accorded due process of law.



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Id.     at   31.      “It    cannot    seriously        be     disputed       that

Castilleja's testimony, taken as a whole, gave the jury the

false impression that his relationship with petitioner's

wife was nothing more than that of casual friendship. This

testimony was elicited by the prosecutor who knew of the

illicit      intercourse     between       Castilleja      and      petitioner's

wife.     Undoubtedly       Castilleja's      testimony        was     seriously

prejudicial to petitioner. It tended squarely to refute his

claim that he had adequate cause for a surge of "sudden

passion"     in    which    he    killed    his   wife.      If     Castilleja's

relationship       with    petitioner's      wife    had     been     truthfully

portrayed to the jury, it would have, apart from impeaching

his     credibility,        tended     to     corroborate           petitioner's

contention that he had found his wife.” Id. at 31-32.                           In

Mr.     Pena’s     case,    the    jury     was     left     with     a   “false

impression” of the alleged victim’s relationship with Mr.

Pena, his family, and his Grandmother.                 The witness claimed

he was far more familiar with them than he actually was.

As    discussed,     Grandmother       should       have     been    called     to

testify to dispute the familiarity claims by the witness.

Grandmother did not know the alleged victim at all.                           They

did not interact, they did not share meals, they did not

help each other as claimed, and it is not possible that the

alleged victim was familiar with the family and Grandmother



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      as claimed.       The jury was left with a false impression of

      Grandmother       and     the    alleged     victim’s        relationship.

      Grandmother should have been called to testify at trial.

17.   The   prosecution       relied   on   the    false    testimony     of   the

      alleged victim to try to prove the case beyond a reasonable

      doubt and relied on the false testimony to making closing

      arguments    to   the    jury.    The   prosecution      relied     on   the

      alleged   victim’s      claims   that   he    could    see    out   of   the

      bedroom window, could see Mr. Pena in the parking lot, and

      relied on the alleged victim’s familiarity of Grandmother

      and her family, including Mr. Pena.            The credibility of the

      alleged victim was not properly attacked by the defense

      such that the prosecution’s lead witness convinced the jury

      and Defendant was convicted at trial.            The jury should have

      been made aware of the truth and the full picture of the

      circumstances related to this case.              The defense had the

      duty and obligation to present this information to the jury

      to help assess the credibility.              Accordingly, the defense

      attorney should have called Grandmother to testify, should

      have called an investigator to testify, should have called

      an expert to testify, and should have developed the bias

      created by the benefits awarded to the alleged victim in

      this case.




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18.   The    prosecutor    in    Mr.     Pena’s     case     bolstered   the

      relationship between alleged victim and Grandmother in the

      closing argument claiming that she cooked meals for him and

      worked on her car to help her.         This relationship was used

      to support the claim that the alleged victim was familiar

      with and knew who Mr. Pena was at the time of the incident.

      However, that simply did not happen.            The information was

      false, and Grandmother needed to testify to explain that to

      the jury.      Additionally, the witness claimed that Mr. Pena

      lived with Grandmother, but that was false too.              Mr. Pena

      had his own apartment in Salem at the time, and Grandmother

      would have testified to her personal knowledge about the

      apartment, who lived there, and where Mr. Pena lived.

19.   When Mr. Pena filed his first appeal seeking a new trial,

      his appellate lawyer failed to properly raise these issues

      for the Court’s consideration.            The Defendant asked his

      counsel handling his appeals to fully develop his claims

      for   ineffective assistance of counsel, including raising

      all   issues   regarding   bias,    the     benefits   received,   the

      failure to call Grandmother as a way to impeach and attack

      the credibility of alleged victim, and failed to properly

      raise the issues regarding what the alleged victim could

      actually see out the bedroom window from his vantage point.

      The trial lawyer and his lawyer handling the first appeal



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for     Mr.    Pena       failed     to    properly      use     the    information

regarding bias of the alleged victim, truthfulness of the

alleged victim, and credibility of the alleged victim by

failing to properly develop the ineffective assistance of

counsel       claims        with    the    information         available        to     the

lawyers.             Both     lawyers      should       have     used     the        bias

information          available,      should      have   used     the    information

provided        by     Grandmother,         and     should       have      used        an

investigator and experts to show additional pictures of the

apartment, the bedroom, the parking lot, the window, and

describe the vantage point from the bed inside the bedroom.

The ability to see out of the bedroom window, or rather the

lack of ability to see out of the bedroom window could have

been easily developed and should have been developed at

trial     and       during     his    first       appeal    filings        by        using

investigator and an expert to show the actual view from

inside,       the    angles    and    geometry      involved,      the     distances

involved, the visibility at night, the differences in views

caused by standing or laying down, the differences in views

caused by standing closer or further away from the window,

the differences in views caused by standing at different

sides of the window, and the relevant science regarding

these issues that do not support the claims of the alleged

victim    that       he     could    see   the    suspect      from     the     bed     or



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      different areas of the bedroom and his actual vantage point

      while     inside      the     first       floor     bedroom.          The        defense

      witnesses       could      have     presented     the      jury      with    a     clear

      understanding of what the alleged victim’s line of sight

      would include on the night in question.                        The view from his

      bedroom       would        have      been      very        limited,         and      the

      inconsistencies of the witness that were developed slightly

      from    cross-examination            could    have      been      highlighted        and

      attacked properly by use of defense witnesses in Mr. Pena’s

      case    in    chief.         The     investigator          would     explain        with

      firsthand knowledge what could be seen from the bed, from

      various positions in the room, and even what could or could

      not be seen if somehow standing right at the window at

      night    with      car     headlights       distracting        the    view.        This

      material information was not developed properly at trial

      and was not properly developed as part of his first appeal.

      Mr. Pena was denied effective assistance of counsel when

      his    lawyers      failed     to    properly       investigate        this       issue,

      prepare      this     issue,        and    failed     to     present        competent

      sufficient evidence regarding the visibility through that

      window with the use of defense witnesses.

20.   The alleged victim lied to the jury several times.                                   The

      defense      was    not     properly      prepared      to     attack       the    false

      information         with     witnesses        readily        available        to     the



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      defense.        The defense should have called Grandmother, an

      investigator,         and    an   expert        as   discussed.        The    false

      testimony of the alleged victim will be developed further

      as part of Mr. Pena’s motion for new trial that successor

      counsel is working on with an investigator.

21.   It is a well settled area of law across the Federal Courts

      that     “the     presentation             of    false      evidence    violates

      due     process. See        Napue     v.    Illinois, 360       U.S.    264,      269

      (1959) ("[A] State may not knowingly use false evidence,

      including false testimony, to obtain a tainted conviction.

      . . ."); United States v. LaPage, 231 F.3d 488 (9th Cir.

      2000)    ("The    due       process    clause        entitles   defendants         in

      criminal    cases      to     fundamentally          fair   procedures.      It   is

      fundamentally unfair for a prosecutor to knowingly present

      perjury to the jury."). If the false evidence is material —

      that is, reasonably likely to have affected the judgment of

      the      jury     —     the       defendant's          conviction      must        be

      reversed. United States v. Agurs, 427 U.S. 97, 103 (1985).

      Here, the record reveals that Minier permitted Colman to

      testify that she did not expect to receive any benefit in

      exchange for her testimony, knowing that her testimony was

      highly questionable at best, and that he had twice promised

      such a benefit to Colman's attorneys.”                        See Phillips v.

      Woodford, 267 F.3d 966, 985 (9th Cir. 2001).                      In Mr. Pena’s



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      case, the trial was polluted with false testimony by the

      alleged victim.         The false testimony was predictable, and

      the defense for Mr. Pena should have included the witnesses

      to attack the false testimony offered by the alleged victim

      in the Commonwealth’s case in chief.                  Mr. Pena was denied a

      fair   trial,    denied        due     process,      and    denied     effective

      assistance of counsel.

22.   Generally,      the    Court         will    not     deem    counsel     to   be

      ineffective if counsel's strategy not to call a witness had

      some reasonable basis designed to effectuate his client's

      interest.    The failure to call a possible witness will not

      always create a claim for ineffective assistance; however,

      when   there     is     some     positive          demonstration      that    the

      testimony would have been helpful to the defense, then the

      trial attorney needs to present the witness to effectively

      represent the defendant.              In Mr. Pena’s case, there was no

      reasonable     basis    designed       to    effectuate      the     Defendant’s

      interest by failing to call Grandmother as a witness at

      trial to attack the credibility of the alleged victim and

      by   failing to call an investigator and                    failing to call

      expert witness at trial to attack the credibility of the

      alleged   victim       regarding       the    view    through      the   bedroom

      window.        These    were     material          issues   for    the   jury’s

      consideration and crucial for Mr. Pena’s defense.



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23.   The   Defendant’s        case      turned     on     the    credibility       of   the

      alleged victim as he claimed he was attacked by Mr. Pena

      and claimed through circumstantial evidence that he saw Mr.

      Pena in the parking lot that night through the bedroom

      window and claimed he was rather familiar with Mr. Pena due

      to his experience and interactions with Grandmother and her

      family as discussed above.                    Both said defense witnesses

      would have helped the defense’s case substantially.                                 The

      failure to call said defense witnesses at trial could not

      be deemed a strategic decision as there was no harm in

      presenting this evidence; instead, the evidence would have

      helped the defense in a material way.                            The claims of the

      alleged victim that he was attacked by Mr. Pena that night

      rise and fall on his credibility.                      Any possible attack on

      the alleged victim’s credibility should have been properly

      investigated,       developed,         and    used     at    trial    to   the     full

      extent possible.          Grandmother would have been very helpful

      for the defense, and an investigator and/ or expert witness

      would     have    been    very        helpful      for      the    defense.        The

      witnesses        would    have        helped       the      jury     evaluate       the

      credibility        of        the      alleged        victim         during       their

      deliberations       in   a    material        way.         The    failures    by   his

      lawyers     to    prepare       and     use     this       evidence    constitutes

      ineffective assistance of counsel.



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24.   Accordingly, Manuel Pena is seeking a motion for new trial

      with successor counsel to properly present the issues of

      ineffective assistance of counsel, bias, false testimony,

      and due process violations to the Court.                      The Defendant

      needs   more   time    to    prepare    the   issues     as    he    was   not

      properly able to prepare throughout the COVID-19 pandemic

      and the denial of access of the Law Library while at MCI-

      Shirley and Souza Baranowski State Prison facility.                   Due to

      the need for additional time that stems from issues out of

      his control, the Petitioner is seeking additional time to

      perfect his Habeas Corpus Petition and seeks an extension

      for as long as this Honorable Court will permit or for up

      to   two    years    while   Petitioner       exhausts    his       remaining

      claims.



      WHEREFORE,     the    Petitioner,       Manuel    Pena,        respectfully

requests that this Motion be ALLOWED.



                                             The Petitioner,
                                             MANUEL PENA,

                                             /s/ MANUEL PENA
                                             _____________________________
                                             MANUEL PENA
                                             MCI-SOUZA BARANOWSKI
                                             100 HARVARD RD
                                             SHIRLEY, MA 01464
      Date:      8/1/22




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                      CERTIFICATE OF SERVICE

    I, Manuel Pena, the Petitioner, hereby certify that on this
date I served a copy of this motion on the Attorney General’s
Office for the Commonwealth of Massachusetts by mailing a copy
to their office.

                                     /s/ MANUEL PENA
    Date:    8/1/22             _________________________
                                     MANUEL PENA




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